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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION
 IN RE:                                    )
                                           )
 SCIENCE FITNESS, LLC,                     )
                                           ) Chapter 7 No. 14-12297-SDB
        Debtor,                            )
                                           )
 ___________________________________________)

     OBJECTION TO MOTION TO APPROVE COMPROMISE OR SETTLEMENT AND
                          REQUEST FOR HEARING

        COMES NOW EVANS PLAZA PARTNERS, LLC (“Evans Plaza”), a creditor in this

 case and Plaintiff in Adversary Proceeding No. 16-1035 and objects to the compromise or

 settlement to the extent that such a settlement and dismissal of Trustee’s claims against Evans

 Fitness Club Express, LLC (“Express”) could prejudice Evans Plaza’s claims against Express.

 Evans Plaza’s claims against Express arise under or otherwise are related to Express’ breach of

 the Asset Purchase Agreement (“APA”) between Express and Trustee. Evans Plaza objects to the

 Trustee settling its claims against Express to the extent that it could harm, diminish, moot, or

 otherwise prejudice its claims against Express.


                                                    /s/ Nathan E. Huff
                                                    Nathan E. Huff
                                                    Ga. Bar No. 773611
                                                    Attorney for Plaintiff
                                                    nhuff@nehlaw.com
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        228 Baston Road
        Augusta, GA 30907
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                                      CERTIFICATE OF SERVICE

        I hereby certify that on this date I have electronically filed the foregoing with the Clerk of

 Court using the CM/ECF system which will automatically send email notification of such filing

 to all attorneys of record.


 This 12th day of June, 2018.                           /s/ Nathan E. Huff
                                                        Nathan E. Huff
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